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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                  EAST ST. LOUIS DIVISION

DWAINE COLEMAN, #B-62923,                          )
                                                   )
                          Plaintiff,               )
                                                   )
           -vs-                                    )          No.    15-898-RJD
                                                   )
JAMES VINSON, et al.,                              )
                                                   )
                          Defendants.              )

                           DEFENDANTS’ PRETRIAL DISCLOSURES

           The Defendants, JAMES VINSON, JARED BLESSING, and DAVID MITCHELL, by

and through their attorney, Lisa Madigan, Attorney General of the State of Illinois, file the

following pretrial disclosures pursuant to Federal Rule 26(a)(3) and this Court’s standing order:



      I.      Witnesses

              a. Witnesses Defendants expect to present at trial:

                              i. Defendant James Vinson

                              ii. Defendant Jared Blessing

                             iii. Defendant David Mitchell

                             iv. C/O Jacob Dent, Vienna Correctional Center, 6695 State Route
                                 #146 East, Vienna, IL 62995; (618) 658-8371

                              v. Tammy Stevens, R.N., Vienna Correctional Center, 6695 State
                                 Route #146 East, Vienna, IL 62995; (618) 658-8371

                             vi. Lieutenant Todd Oehlsen, ID # 6335, Vienna Correctional Center,
                                 6695 State Route #146 East, Vienna, IL 62995; (618) 658-8371




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                  b. Witnesses Defendants may call if the need arises:

                          i. Plaintiff Dwaine Coleman

                          ii. Matthew Swalls, Vienna Correctional Center, 6695 State Route
                              #146 East, Vienna, IL 62995; (618) 658-8371

                         iii. Penny George, 6695 State Route #146 East, Vienna, IL 62995;
                              (618) 658-8371

                         iv. Travis Wentworth, Vienna Correctional Center, 6695 State Route
                             #146 East, Vienna, IL 62995; (618) 658-8371

                          v. Jessica Powers, Vienna Correctional Center, 6695 State Route
                             #146 East, Vienna, IL 62995; (618) 658-8371

                         vi. Julia Rodriguez, Vienna Correctional Center, 6695 State Route
                             #146 East, Vienna, IL 62995; (618) 658-8371

                        vii. Sergeant Todd Vick, ID # 11909, Vienna Correctional Center,
                             6695 State Route #146 East, Vienna, IL 62995; (618) 658-8371

                        viii. Officer Anderson, ID # 13626, Vienna Correctional Center, 6695
                              State Route #146 East, Vienna, IL 62995; (618) 658-8371

                         ix. Any impeachment or rebuttal witnesses as necessary


                  c. Witnesses Defendants expect to present by deposition:

                          i. None.



     II.   Exhibits

           a. Exhibits Defendants expect to offer at trial:

                  i. Plaintiff’s IDOC Living Unit History for 11/6/2014 – 1/14/2015

                  ii. Plaintiff’s IDOC Cumulative Counseling Summary

                  iii. Offender Disciplinary Report dated 11/17/2014 for Offense 304-Insolence
                       and 403-Disobeying a Direct Order

                  iv. Adjustment Committee Final Summary Report dated 11/21/2014

                  v. Incident Reports dated 1/3/2015 for incident at 8:50 p.m. and 11:20 p.m.


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           b. Exhibits Defendants will only offer if the need arises:

                  i. Plaintiff’s grievance dated November 17, 2014

                  ii. Plaintiff’s complaint

                  iii. Plaintiff’s medical records for November 17, 2014 – January 14, 2015

                  iv. Plaintiff’s mental health records for November 17, 2014 – January 14,
                      2015

                  v. Plaintiff’s IDOC Disciplinary Card for 1/1/1998 – 3/28/2018



                                                Respectfully submitted,

                                                JAMES VINSON, JARED BLESSING, and
                                                DAVID MITCHELL,

                                                      Defendants,

Lisa Cook, #6298233                             LISA MADIGAN, Illinois Attorney General,
Assistant Attorney General
500 South Second Street                               Attorney for Defendants,
Springfield, Illinois 62706
(217) 782-9014 Phone                            By:     s/Lisa Cook
(217) 521-5091 Fax                                    LISA COOK
Email: lcook@atg.state.il.us                          Assistant Attorney General




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

DWAINE COLEMAN, #B-62923,                      )
                                               )
                      Plaintiff,               )
                                               )
       -vs-                                    )           No.    15-898-RJD
                                               )
JAMES VINSON, et al.,                          )
                                               )
                      Defendants.              )

                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 31, 2018, the foregoing document, Defendants’ Pretrial
Disclosures, was electronically filed with the Clerk of the Court using the CM/ECF system, which
will send electronic notice of same to the following:

       Michael Hickey         mhickey@lewisrice.com
       Jerina Phillips        jphillips@lewisrice.com



                                            Respectfully Submitted,

                                             s/Lisa Cook
                                            Lisa Cook, #6298233
                                            Assistant Attorney General
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